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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LABORERS’ PENSION FUND, LABORERS’ )
WELFARE FUND OF THE HEALTH AND           )
WELFARE DEPARTMENT OF THE                )
CONSTRUCTION AND GENERAL                 )
LABORERS’ DISTRICT COUNCIL OF            )
CHICAGO AND VICINITY, THE CHICAGO )
LABORERS’ DISTRICT COUNCIL RETIREE )
HEALTH AND WELFARE FUND and              )
CATHERINE WENSKUS, not individually, but )
as Administrator of the Funds,           )
                                         )                 Case No. 19 C 3022
                           Plaintiffs,   )
v.                                       )                 Honorable Mary M. Rowland
                                         )
M2 CONSTRUCTION, INC., an Illinois       )
corporation, and RAMON CALDERON,         )
individually,                            )
                           Defendants.   )

                                    JUDGMENT ORDER

       This cause coming before the Court on motion of Plaintiffs Laborers’ Pension Fund,

Laborers’ Welfare Fund of the Health and Welfare Department of the Construction and General

Laborers’ District Council of the Chicago and Vicinity, the Chicago Laborers’ District Council

Retiree Health and Welfare Fund, and Catherine Wenskus, in her capacity as Administrator of

the Funds (collectively the “Laborers’ Funds”), for entry of Judgment Damages, pursuant to Fed.

R. Civ. P. 55(b), due notice given, and the Court finding Defendants, M2 Construction, Inc., and

Ramon Calderon in default, and the Court having been fully advised in the premises,

       IT IS HEREBY ORDERED THAT:

       Judgment is entered in favor of the Laborers’ Funds and against M2 Construction, Inc.

and Ramon Calderon, jointly and severally, in the total amount of $284,494.90, consisting of the

following amounts:
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      1.     $263,090.90, based on the Bansley and Kiener, LLP Audit (“Bansley Audit”),
             covering the period from April 1, 2016 through September 30, 2018 and
             consisting of:

             a)     $158,815.55 representing the principal amounts found due for unpaid
                    benefit contributions and union dues;

             b)     $30,610.03    Liquidated damages, on the audit findings;

             c)     $21,955.97    Accumulated liquidated damages on untimely payments;

             d)     $45,145.60    Accumulated interest on the audit findings;

             e)     $6,563.85     Audit cost;

      2.     $21,404.00, representing the reasonable attorneys’ fees and costs accrued by the
             Laborers’ Funds incurred in its efforts to collect the above amounts to date;
      3.     M2 Construction, Inc., and Ramon Calderon are ordered to pay post judgment
             interests on all amounts entered against them from the date of the Judgement
             Order until the date the Judgment Order is paid in full; and

      4.     M2 Construction, Inc., and Ramon Calderon are ordered to post and maintain a
             fringe benefit bond in accordance with the terms and conditions of the
             Agreement.




                                                 ______________________________
                                                 The Honorable Mary M. Rowland
                                                 United States District Court Judge


Dated: October 21, 2020




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